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                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE: PARAGARD IUD                              MDL DOCKET NO. 2974
 PRODUCTS LIABILITY                               (1:20-md-02974-LMM)
 LITIGATION

 This document relates to:
 KRISTA KNOWLES
                   Plaintiff

        Case No.: 1:22-cv-02965-LMM

          PLAINTIFF’S RESPONSE TO COURT’S ORDER TO SHOW CAUSE

       Plaintiff, KRISTA KNOWLES, by and through the undersigned counsel, respectively

responds to the Court’s Show Cause Order dated December 30, 2024, as follows:

       Upon receipt of this Court’s Show Cause Order the undersigned counsel performed a

diligent search for a Notice of PFS deficiency from Defendant. Not seeing one, Plaintiff’s counsel

promptly emailed Defendant to obtain a copy of the Notice of PFS Deficiency. Counsel for

Defendant responded, providing a Notice of PFS Deficiency that had been served by email on July

11, 2024. Plaintiff’s counsel again performed a search on the inboxes of numerous email accounts

and has been unable to locate the July 11, 2024, email.

       Upon receipt of Defendant’s re-emailed Notice of PFS Deficiency, Plaintiff’s Counsel

reviewed the Notice and contacted the Plaintiff. An Amended Plaintiff Fact Sheet was then

uploaded to the MDL Portal on December 31, 2024. Updated authorization forms were then

uploaded on January 6, 2025, thus curing the claimed deficiencies.

       Plaintiff requests that this case not be dismissed as she had complied with all of her

obligations under the various PFS CMOs and neither the Plaintiff nor her counsel were aware of
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any deficiencies at the time this Court’s Show Cause Order was issued. In the alternative, Plaintiff

requests to be heard on why her case should not be dismissed.

       This, the 10th day of January, 2025.

                                                      Respectfully submitted,

                                              By:      /s/ Peyton P. Murphy
                                                       Peyton P. Murphy, LA Bar No. 22125
                                                       MURPHY LAW FIRM, LLC
                                                       2354 S. Acadian Thruway
                                                       Baton Rouge, LA 70808
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                                                       Facsimile: 225-246-8780
                                                       Email: peyton@murphylawfirm.com

                                                       Attorneys for Plaintiff




                                 CERTIFICATE OF SERVICE

       I, Peyton P. Murphy, do hereby certify that I have on this day caused a true and correct

copy of the above and foregoing document to be filed with the Clerk of Court using the CM/ECF

filing system which will send notification to all counsel of record.

       This, the 10th day of January, 2025.



                                              /s/ Peyton P. Murphy
                                              Peyton P. Murphy
